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                                       ORDERED.

         Dated: June 24, 2019




                          UNITED STATES BANKRUPTCY COURT
                             MIDDLE DISTRICT OF FLORIDA
                                   TAMPA DIVISION

In re:                                                       Case No.: 8:19-bk-03039-RCT
                                                             Chapter 7
Rodolfo Marin

                 DEBTOR                      /

                              ORDER ON APPLICATION TO
                            EMPLOY ATTORNEY FOR TRUSTEE

          This cause came on for consideration upon the Application to Employ Richard M.
Dauval, Esquire of the law firm of LeavenLaw as Attorney for the Trustee in the above-
captioned Chapter 7 case (Doc. No. 31, hereinafter “Application”). The Court has considered the
Application, together with the record, and is satisfied that the Application is well taken and
should be approved. Accordingly, it is ORDERED and ADJUDGED:
          1. The Application is approved.
          2. Richard M. Dauval Esq. and the law firm of LeavenLaw may not receive
             compensation in this case without an Application to and an Order from this Court.
             Compensation will be determined later in accordance with 11 U.S.C. Sec 330



Attorney, Richard M. Dauval, Esq., is directed to serve a copy of this order on interested parties
who are non-CM/ECF users and to file a proof of service within three days of entry of the order.
